Case 19-13121-KHK           Doc 52    Filed 10/30/19 Entered 10/30/19 10:46:32               Desc Main
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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

 In re:

           Bluepoint Medical Associates, LLC          Case No. 19-13121-KHK
           Debtor.                                    Chapter 11

                          ORDER GRANTING EXPEDITED HEARING

          THIS CASE came on :LVWHULD//& VMotion for an Expedited Hearing (Docket

No. 39) on their Motion for Relief from Stay (Docket No. 38). Upon consideration, it is

          ORDERED:

          1. The Motion for an Expedited Hearing (Docket No. 39) is GRANTED, and a hearing

will be held on Tuesday, November 5, 2019 at 11:00am, in Courtroom III, United States

Bankruptcy Court for the Eastern District of Virginia, 200 South Washington Street, Alexandria,

Virginia 22314.

          2. The movant shall immediately give notice by the quickest means to all affected

parties. Notice may be electronic, by facsimile, telephonic, hand-delivery, or other means

reasonably calculated to give actual notice to the affected parties.

          3. Any objections may be made orally at the hearing.

          4. The Clerk shall mail copies of this Order or give electronic notice of its entry, to the

parties listed below.


      Oct 30 2019
Date: __________________
                                                         /s/ Klinette H Kindred
                                                         Klinette H. Kindred
                                                         United States Bankruptcy Judge
                                                         Entered on Docket: October 30, 2019
Copy electronically to:
John &Morgan
